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 1                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 2                                        AT TACOMA

 3
        MARK BAKER,                                          CASE NO. C10-5927RJB
 4
                                Plaintiff,                   ORDER DISMISSING CASE
 5
                v.
 6
        CITY OF EDGEWOOD, et al.,,
 7
                                Defendant.
 8
            This matter comes before the court review of the file.
 9
            On February 25, 2011, the court issued an order, informing plaintiff that the court would
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     dismiss this case without prejudice, effective March 26, 2011, unless, not later than March 25,
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     2011, plaintiff, if he had properly served defendants, could file certificates of service, showing
12
     that defendants had been properly served in accord with Fed.R.Civ.P. 4.. Dkt. 25, at 5.
13
            As of this date, plaintiff has not filed certificates of service showing that the named
14
     defendants have been served in accord with Fed.R.Civ.P. 4. The court allowed plaintiff adequate
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     time in which to accomplish service and he has failed to do so. In accord with the court’s
16
     February 25, 2011 order, the court should dismiss this case without prejudice.
17
            Accordingly, it is hereby ORDERED that this case is DISMISSED without prejudice.
18
            The Clerk is directed to send uncertified copies of this Order to all counsel of record and
19
     to any party appearing pro se at said party’s last known address.
20
            Dated this 29th day of March, 2011.
21

22

23
                                             A
                                             ROBERT J. BRYAN
24                                           United States District Judge



     ORDER DISMISSING CASE- 1
